            Case 1:21-cr-00046-RDM Document 149 Filed 07/11/23 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      §
                                              §
                                              §
v.                                            §
                                              §         Case No. 21-CR-00046-RDM
PATRICK MONTGOMERY,                           §
BRADY KNOWLTON, and                           §
GARY WILSON                                   §
                                              §
           Defendants                         §

          JOINT STATUS REPORT AND PROPOSED SCHEDULING ORDER

TO THE HONORABLE RANDOLPH D. MOSS, UNITED STATES DISTRICT
JUDGE FOR THE DISTRICT OF COLUMBIA:

           PATRICK MONTGOMERY, BRADY KNOWLTON, and GARY WILSON, the

Defendants in the above styled and numbered cause, by and through their under-

signed counsel, along with the United States of America, by and through its attorney,

the United States Attorney for the District of Columbia, submit this joint status re-

port as requested by the Court setting out proposed dates for motions and other dead-

lines. The parties have conferred and propose the following requested deadlines.

     1.    Motions (pursuant to FRCP 12(b)(3)), suppression motions, and other disposi-
           tive motions on or before: July 17, 2023.

     2.    Oppositions to motions (pursuant to FRCP 12(b)(3)), suppression motions, and
           other dispositive motions on or before: July 31, 2023.

     3.    Replies to oppositions to motions (pursuant to FRCP 12(b)(3)), suppression mo-
           tions, and other dispositive motions on or before: August 14, 2023.

     4.    Motions in Limine on or before: August 18, 2023.

     5.    Oppositions to Motions in Limine on or before: September 2, 2023.

     6.    Replies to oppositions to Motions in Limine on or before: September 15, 2023.



                                              1
         Case 1:21-cr-00046-RDM Document 149 Filed 07/11/23 Page 2 of 3




   7.   404(b) Disclosures on or before: September 15, 2023.

   8.   Motions Hearing. The Government’s preference would be to set no dates for
        oral argument on any motions filed by the Defendants and to be available for
        dates if the Court indicates that it wants to hear oral argument on said motion.
        As for the Defendants, they are requesting that a hearing be tentatively set for
        the week of either September 18, 2023 or October 2, 2023 via Zoom. De-
        fendants will confirm their intent to request a hearing on any motion with the
        Court and confer with the deputy clerk of the Court regarding a specific date
        and time after motions, oppositions, and replies (if any) are filed.

   9.   Joint exchange of Exhibit lists on or before: September 18, 2023.

   10. Joint Pretrial Statement on or before: September 21, 2023.

   11. Pretrial Conference: October 6, 2023 at 2:00 p.m. (in person).

   12. Grand Jury & Jencks Act Material provided on or before: October 6, 2023.

   13. Trial: October 16, 2023.

(Dates underlined above are unchanged from the previous scheduling orders. See Mi-

nute Orders of 2/9/2023 & 2/27/2023.)

                                Respectfully Submitted,

                                  /s/ John M. Pierce
                                     John M. Pierce
                                 21550 Oxnard Street
                                 3rd Floor, PMB #172
                              Woodland Hills, CA 91367
                                  Tel: (213) 400-0725
                              jpierce@johnpiercelaw.com

                           Attorney for Patrick Montgomery

RONALD SULLIVAN LAW, PLLC                       MAYR LAW, P.C.

by: /s/ Ronald S. Sullivan Jr.                  by: /s/ T. Brent Mayr
RONALD S. SULLIVAN JR.                          T. BRENT MAYR
D.C.D.C. Bar ID 451518                          D.C.D.C. Bar ID TX0206
rsullivan@ronaldsullivanlaw.com                 bmayr@mayr-law.com

1300 I Street NW, Suite 400 E                   5300 Memorial Dr., Suite 750
Washington, DC 20005                            Houston, TX 77007


                                            2
        Case 1:21-cr-00046-RDM Document 149 Filed 07/11/23 Page 3 of 3




Telephone: (202) 935-4347                          Telephone: 713-808-9613
Fax: (617) 496-2277                                Fax: 713-808-9613

                                        WAGNER PLLC

                                 by: /s/ Camille Wagner
                                   CAMILLE WAGNER
                                   DC Bar No. 1695930
                               law@myattorneywagner.com

                               1629 K Street NW, Suite 300
                                 Washington, DC 20006
                                      202-630-8812

                              Attorneys for Brady Knowlton

                                    PRICE BENOWITZ, LLP

by: /s/ David B. Benowitz                          by: /s/ Amy Collins
DAVID B. BENOWITZ                                  AMY COLLINS
D.C.D.C. Bar ID 451557                             D.C.D.C. Bar ID 1708316
david@pricebenowitz.com                            amyc@pricebenowitz.com

                           409 Seventh Street, NW, Suite 200
                                Washington, DC 20004
                               Telephone: (202) 417-6000
                                  Fax: (202) 664-1331

                                   Attorneys for Gary Wilson



                               MATTHEW M. GRAVES
               UNITED STATES ATTORNEY FOR THE DISTRICT OF COLUMBIA

by: /s/ Kelly Moran                                by: /s/ Carolina Nevin
KELLY MORAN                                        CAROLINA NEVIN
Assistant United States Attorney                   Assistant United States Attorney
New York Bar No. 5776471                           New York Bar No. 5226121
601 D Street NW                                    601 D Street, NW
Washington, D.C. 20530                             Washington, DC 20001
(202) 252-2407                                     (202) 803-1612
kelly.moran@usdoj.gov                              carolina.nevin@usdoj.gov



                                               3
